
11 U.S. 278 (1812)
7 Cranch 278
WALLEN
v.
WILLIAMS.
Supreme Court of United States.
March 13, 1812.
Present ... . All the Judges.
JONES, for the Plaintiff in error.
P.B. KEY, contra.
*279 TODD, J.
The attachment to compel a performance of the decree was unavailing; and upon the return of it, the habere facias was issued in conformity with the practice in that state, as admitted by the counsel on both sides in the Court below. It was ordered as a matter of course, and no objection was made. If this motion should prevail, it will make the writ of error operate as a supersedeas, contrary to the intention of the act of Congress.
Motion overruled.
